         Case 5:20-cv-00355-R Document 113 Filed 08/23/22 Page 1 of 2




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

RANDY BLAKE PATTERSON,                  )
M.D.,                                   )
                                        )
                                        )
                    Plaintiff,          )
                                        )      Case No. CIV-20-355-R
v.                                      )
                                        )
                                        )
RAYMOND A. COHLMIA,                     )
D.D.S.,                                 )
                                        )
                    Defendant.


                                        ORDER
      Currently pending is the Parties Joint Motion for Order Compelling Judicial

Settlement Conference, to Stay Trial Pleading Deadlines and Confirming September 6th

Conference is Stricken. Doc. 109. The Court finds cause to grant the Motion and orders:

1.    The conference set for September 6th is striken;

2.    Pursuant to local rule 16.2, this matter shall be referred to a Judicial Settlement

      Conference;

3.    All trial pleading deadlines within this proceeding shall be stayed pending the

      judicial settlement conference and if the judicial settlement conference is

      unsuccessful then shall be reset when the trial is reset. If the judicial settlement

      conference is unsuccessful, the parties will have ten (10) days to submit a new

      proposed scheduling order addressing all outstanding deadlines for the Court’s

      consideration.
        Case 5:20-cv-00355-R Document 113 Filed 08/23/22 Page 2 of 2




IT IS SO ORDERED this 23rd day of August 2022.
